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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                                 Eastern Division

Globefill Incorporated
                                    Plaintiff,
v.                                                     Case No.: 1:19−cv−04593
                                                       Honorable Andrea R. Wood
Stoller Imports, Inc., et al.
                                    Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, July 25, 2019:


        MINUTE entry before the Honorable Andrea R. Wood: Motion hearing held. The
Court notes that although an appearance has not been filed on Defendants' behalf, an
attorney Christopher Fahy appeared at today's hearing. Counsel for Plaintiff also
appeared. If Defendants have retained counsel, that counsel shall file an appearance on
their behalf by 8/5/2019 and appear at the next status hearing. By 8/5/2019, the parties
shall meet and confer and file a joint status report that also states the parties' views
regarding prospects for settlement and a preliminary injunction schedule. Plaintiff's
motion for preliminary injunction [11] is entered and continued to the next status hearing.
Status hearing set for 8/8/2019 at 10:00 AM. Mailed notice(ef, )




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